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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                         :                   Civil Action No. 3:15-8407(FLW)
  THE INDEPENDENCE PROJECT, INC. :
  a New Jersey Non Profit Corporation    :
            et al.    Plaintiff,        :                       ORDER OF DISMISSAL
                                        :
                                        :
                 v.                     :
                                        :
 SAKER ENTERPRISES OF                   :
 FREEHOLD, LLC                          :
 a New Jersey Limited Liability Company :
               Defendant,               :
                                        :
                                        :

        It having been reported to the Court that the above-captioned action has been settled in its

entirety;

        IT IS on this 28th day of April, 2016;

        ORDERED THAT:

        (1) This action is hereby DISMISSED without costs and without prejudice to the right, upon

motion and good cause shown, within 60 days, to reopen this action if the settlement is not

consummated; and

        (2) If any party shall move to set aside this Order of Dismissal as provided in the first paragraph

or pursuant to the provisions of Fed. R. Civ. P. 60(b), in deciding such motion the Court retains

jurisdiction of the matter to the extent necessary to enforce the terms and conditions of any settlement

entered into between the parties.

                                                        s/Freda L. Wolfson
                                                        Freda L. Wolfson
                                                        United States District Judge
